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                                  R OAN O U D IW SION                             J     .                  ,cLERK
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    UNITED STATES OF AM RRICA                 )      criminalActionNo.7:14cR0 'FF CLERK
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    v.                                        )      M EM O M N D U M O PIN IO N
                                              )
    T.ARRY DARNELL BORDEN ,                   )      By:M ichaelF.U rbansld
         Defendant.                           )      United StatesDistrictJudge
           Larry D arnellBorden,a federalinm ateptoceeding pcq .
                                                             - K ,hasflled am odon to

    vacate,setaside,orcorrecthissentencepursuantto 28U.S.C.j2255.Borden allegesthat
'

    counselprovided ineffecdveassistance.Thegovernm entflled a m oéon to dismissand
                                                                                                'i
                                                                                                 ' .

    Bordenresponded,makingtllismatterzipefordisposidon.Afterreviewingtherecordba#t
                                                                                 ,j
                                                                                  ..
                                                                                            ï
    bziefs,thecolzrtconcludesthatBordenhasnotstatedanymeritoziousclnim forreliejués
                                                                                  der
    j2255and thegovernment'smoéon/to disrnissmustbegranted.                             ' .
                                                                                                      ,N

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                                                                                                    '
                                                                                                   :t

           OnAupzst1,2013,afederalgrandjttryindictedBordenandfiveco-defendants*1/
                                                                                .1
            w                                                                                          '
                                                                                                       ï

    drug-telated crim es. Borden wascharged w1t.11conspiracy to possesswit.h intentto distribu
                                                                                             'te

    1,000 gram sorm ore ofheroin,280 gram sorm ore ofcocaine base,and five ldlogram sor '

    moreofcocaine,inviolation of21U.S.C.jj841(b)(1)(C)and 846rfcountOne'),and
    possession withintentto distributeheroin,invioladon of21U.S.C.jj841(a)(1)and
    @)(1)(C)rfcountsFour,Six-Nine'').Indictmentat1-5,ECFNo.13.
           Onluly 18,2014,Borden andthegovernmententered intoapleaagreementinwllich
    Borden agreed to plead guilty to Counts One,Fou.
                                                   rand Six,and the governm entagreed to

    disrnisstherem aining possession with intentto distdbutecharges. PleaAgree.at1-2,ECF

    N o.112.A pleahearing washeld on August18,2014.D efense counselstated thatshehad
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m etwith Borden severaltim esand had read him im portantdocum entsbecausehe has

ttoublereacling. PleaH r'g Tr.at5-6,ECF N o.268. Borden affirm ed thathe had received a

copy oftheindictm ent,counàelhad read itto him ,and they had discussed thechatges,the

rightto ptoceed to tdal,and theprosand consofpleading /1111. Id.at9-10. Borden
                            .




affit-medthathewasf'f-tzllysadsfiedwit.htheadviseandrepresentadon ghislcounsel...hagdq
given I
      himjin thiscase.''Id.at29.Counselstated thatshehadreviewed thepleaagreement
with Borden,and heagreed thathehad reviewed each page oftheplea agreem entwith

counselbefore signing it. Id.at13.

      The goveznm entzeviewed the essentialterm softhepleaagteem enton the record.

J.dsat15-16.Thegovernmentnoted thatforallthreecounts,Borden faced amaximum
twenty-yearsentence. 1d.at15. Thegoveznm entalso noted the ffveryim portant''partof

the pleaagreem entin wlùch Borden gaveup hisrightto appealorto collatezally attack llis

sentenceexceptforlim ited circumstances.J-dxat16.Borden afiirm ed llisunderstanclitng

thatby pleading /.
                 1111 ,hew asgiving up lnisrightto appealand to collaterally attack his

sentence.Ld.aat28.Thegovernm entalsoread aloudastatem entoffactssignedbyBorden

andhiscounsel,whichincluded thefollowingpassage:TfBorden stayed with ga
coconspirator)and becamewellawareofgthecoconspirator'sjheroin-tzafficldngacéviées
thatincluded thepossession offrearm sto protectthe drug business.'' Id.at32. W hen

asked whetherheagreed with the statem entoffacts,Borden stated <<As faraswith thepm s,

Ihaven'tseen gtm s....M atteroffact,1didn'teven know they had gunsuntil,you know ,I

seen someovergacoconspirator's)house,and Ithink gadifferentcoconspiratorjtookone
with him .''J-
             1.
              L at39. Borden affirmedthathewaspleadinggul
                                                        'ltybecausehewas,in fact,


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guilty ofCountsO ne,Fourand Six. 1i.at41.Thecourtfound thatBorden wasfully
                                    .




com petentand capable ofentering an infotm ed plea,thathewasaware ofthe nature ofthe

chargesagainsthim and the consequencesoflzisplea,and accepted hisguilt)rplea. Id.at43.

      ThePresentenceInveségadonReport(<TSR'')recommended atotaloffenselevelof
23,which included atwo-levelenhancem entforpossessing adangerousweapon,putsuantto

UnitedStatesSentencingGtzideline(U.S.S.G.)j2D1.1(b)(1),acriminalhistorycategoryof
II,resultingin aguidelineimprisonmenttangeof51to 63months.PSR ! 121.Defense
counselmadenlzmerousobjecdonstothePSR,includingonetothetwo-pointenhancement
forpossession ofa dangerousweapon. 1.
                                    daat28.Theresponseprovidedin thePSR noted
                                        .




thatthegrandjurytestimonyofBorden'sex-girlfriend,RoseIoitk,conflrmedthathehad
possessed agtzn on m ultiple occasionsand the statem entoffactread into the record atthe

plea colloquy noted thatBorden wasaware thata co-conspiratorhad possessed fuearm sto

protectthedrug business. Id.at28-29.

      Both the defenseand thegovernm entflled sentencing m em oranda. The defense

requested asentenceoftimeserved (11months)andarguedthattheweapons-enhancement
should notapply because,although Bozden saw agtm atacoconspirator'sapartm ent,ffhe

did notknow thescope ofthe conspiracy atthattim e''and Tfnevercarried agtzn him self.''

D ef.Sent.M em o at5,ECF N o.167. In addiéon,the defense argued thatthe testim ony

from Itirk wasurlreliablebecause theirrelationsllip ended on Tfbad term s.'' 1d.at6. The

governm entrequested a sentence of63 m onthsand responded to defensecounsel's

objection tothefue/t'msenhancementbynodng,asdid thePSR,thatBorden's



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coconspiratorhad agun ofwhich Borden wasaware,and IO k had previously testo ed that

Borden possessed aflzearm . U .S.Sent.M em o.at2-3,ECF N o.170.

        A sentencing headngwasheld onlanuary 16,2015.Atthehearing,with regard to
the gun enhancem ent,thegovernm entpresented evidence from liitk thatacoconspirator

had owned a flrearm and leftitlying around the apattm entthe coconspirator shared with

Borden. Sent.H r'g Tr.at49,ECF N o.267. She flntthertestified thaton one occasion

Borden had gotten thegun,broughtitto heraplrtm entand ffwaved itaround foranainute.''

1d.at52. D efensecounselquestioned IO k abouther extensive crim inalhistory,which

included num erousdrug convicéons,and also convictionsforgiving a falseidentity to an

officer,forgery,shoplifting,and obtainingmoneybyfalsepretenses,amongothers.JA at
60-61. D efensecounselasked whetherIO k wasbeing charged in thedrug conspiracy to

which Borden pleaded guilty. She confum ed thatshe had notbeen charged buthad sold

clnlgs on occasion. Id.at61.

        D efense counselcalled Borden to testify. He stated thathe nevercarried a gun nor

had one in hispossession forthe entite tim ethathewasin Virginia and thathe had never

waved agun atIiirk'sapartm ent.Ld.sat63.Borden testified thata codefendanthad

aclmitted to havingagun,butBordenhad neverseenitso did notknow ifthatwastrue.Ld.a
at63.

        In response,thegovernm entcalled a federalagentto tesdfywho had interview ed

Borden in relation to a profferthatBorden m ade. The agenttesdfied thatBorden had said

thatheknew hiscodefendanthad fuearm sthatwere used to protectthe cltnzg business. Id.

at69.Thecourtoverruledtheobjecdontotheflrearm enhancementbecause,basedonthe

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testim ony,itwasclearthatBorden knew thata coconspiratorpossessed agun in orderto

protectthedrug tzade,wllich isallthatisrequiredunderFourth Circuitlaw.J-dxat75-77.
Thecotzrtsentenced Borden to awitllin-gtzidelinessentenceof60 m onths. Borden did not

appeal.In thisj2255peddon,Bordenraisestwoineffectiveassistanceclnims:(1)counsel
didnotobjecttotheunreliabilityofIfirk'stestimonysuppordngtheflrent'm enhancement
and(2)counselfailedtoadviselnim thatanyissuenotdirectlyappealedissubjecttothe
afiirmativedefenseofproceduraldefaultwhen raisedin aj2255petition.
                                           II.

      Tostateaviableclnim forzeliefunderj2255,apetdonermustprove:(1)thatlnis
sentencewasffimposedinvioladon oftheConsdtudon orlawsoftheUnited Statesi''(2)
thatffthecourtwaswithoutjurisdictiontoimposesuchasentencei''or(3)thatffthesentence
wasin excessofthemaximum authorized bylaw,orisotherwisesubjectto collateralattack.''
28U.S.C.j2255($.Borden bearstheblzrden ofprovinggroundsforacollateralattackbya
preponderanceoftheevidence.Millerv.Uaited States,261F.2d 546,547 (4th Cit.1958).
       Crim inaldefendantshavea Sixth Am endm enttightto effectivelegalassistance.

Stdcklandv.W aslnington,466U.S.668,687 (198$.Thepropetvellicleforadefendantto
raiseanineffecdveassistanceofcounselclnim isbyftling aj2255motion.UnitedStatesv.
Ba tiste 596 F.3d 214,216n.1(4th Cir.2010).However,ineffecdveassistanceclnimsate
notlightlygranted;ffgtjhebenchmarkforjudging anyclnim ofineffectivenessmustbe
whethercounsel'sconductso undermined the proper funcéoning ofthe adversarialprocess

thatthegpzoceedinglcannotberelied on ashavingproduced ajustresult.'' Stdckland,466
U .S.at686.A ccordingly,in ozderto establish aviableclnim ofineffective assistance of


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counsel,adefendantm ustsatisfy atwo-prong analysisshowing 130th thatcounsel's

performancefellbelow an objectivestandard ofreasonablenessand establishingprejudice
dueto counsel'salleged defkientperfotm ance. L1
                                              1.at687.W hen consideringthe
                                                 .




reasonablenessprong ofStdckland,courtsapply a Tfstrong presum ption thatcounsel's

conductfallswithin thewiderange ofreasonableprofessionalassistance.'' 1d.at6899G Cg  -




v.Branker.529F.3d 220,228-29 (4th Cir.2008). Counsel'sperformanceisjudgedffon the
factsofthe parécularcasey''and assessed fffrom counsel'sperspective atthe tîm e.''

Stdckland,466 U.S.at689,690.

       To sadsfytheprejucliceprongofSdckland,adefendantmustshow thatthereisa
reasonableprobability thatobutforcounsel'sunprofessionalerror,the outcom e ofthe

proceedingw ould have been different. Ld.
                                       .aat694.:<A zeaspnableprobabilityisaprobability

sufficienttoundernnineconfidencein theoutcome.''Ld.s To show prejudicefollowing a
guilty plea,a defendantm ustestablish thatthereisareasonable probability that,butfor

counsel'salleged errots,hew ould nothavepleaded g1.
                                                  1.
                                                   111 butwould havegoneto trial

instead.Hillv.Lockharq474U.S.52,59 (1985).Borden'scbimsofineffecùveassistanceof
counseldo notsaésfy Strickland'sstzingentrequirem ents.

              A.Failureto Objectto UnreliableTestim ony
       Borden flrstarguesthathereceived deficientrepresentadon becausecounselfailed to

objectto thetestim onyprovided bylO kin supportofthetwo-levelenhancementfor
possession ofaflrearm,pursuanttoU.S.S.G.j2D1.1$)(1).Thisclaim isincorrect.
       Defensecounselobjected,on multipleoccasions,tolo k'stestimony.First,defense
counselobjected totheenhancementin thePSR.Then,defensecounselftled asentencing

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m em ozandum ,quesdoningwhetherlo k'stestim ony wasreliable.Finally,atthe sentencing

hearing,counselcross-exaH ned Iiirk and highlighted herunreliability asawitnessby asldng

heraboutherextensive ctim inallnistory,which included m any chargesinvolving dishonesty

orfalsestatements.In addzon,defensecounselunderscored thefactthatKirkhadnot
been charged in theconspiracy buthad participated in som ecltnlg sales,suggeséng thatshe

had an incentive to testify favorable forthegovernm ent.

       Moreoveq thetwo-pointenhancementwascleazlyapplicable.Asthecotzrtnoteéat
sentencing,the dangerous-weaponsenhancem entisappropriatew heteitwasreasonably

foteseeable to the defendantthata coconspiratorpossessed a firenmnnin fllttheranceofthe

conspiracy.UnitedStatesv.Brooks,957F.2d1138,1148(4thCit.1992).Inmakingits
deterrnination,the couztrelied on the statem entoffactsthatBorden signed thatprovided

thatBorden knew acoconspiratorpossessed guns,Borden'stesém ony attheplea colloquy

thathe had seen a coconspitatorwit.h a fstearm ,and the sentencing-hearing testim ony ofa

federalagentwho had recorded Borden'sprofferand stated thatBorden had admitted that

heknew thatcoconspiratorspossessed ftteat'm sto protectthe drug ttade.A ccotdingly,

Borden cannotestablish eitherthatcounselprovided ineffecdve assistanceorthathe

sufferedanyprejudice.Stricldand,466U.S.at687.
              B .Failure to Inform ofProceduralD efaultRules

       N ext,Botden arguesthatcounselprovided ineffecdveassistance becauseshedid not

telllnim thathewould largelybe foreclosed from collaterally attacking hissentence on

proceduraldefaultgroundsifheclidnotftleadirectappeal.Borden adrnitsthatffgljis
attorney told him thathe waived llistightto appealand any challengewould befutile.''


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j2255Mot.at13,ECF No.259.However,heassertsthatTfgcjounseldidnottellL
                                                                   himlof
theproceduraldefaultrule.'' Id.Thisclnim ,too,lacksm erit.

      A crim inaldefendantm aywaivehisrightto appealand ffto attack hisconvicdon and

sentence collaterally,so long asthew aiverisknowing and voluntary.'' U nited Statesv.

Lemaster,403F.3d216,220(4t.
                          hCir.2005).Heze,Bordencannotestablishanytlaingother
than thathiswavierwasknowingly and voluntarilym ade. H e signed and inidaled every page

ofhisplea agreem ent,w hich stipulated thathe waive hisrightto appealand to collateral

attack hissentence exceptin lim ited circum stances.A thisplea colloquy,the courtreviewed

wit.h Borden thathewasgiving up ltisrightto appealand collatezaEy attack lnissentence.

Borden affit-med thatheunderstood.

      Tlziswaiverisvalid. Indeed,Borden doesnotclnim otherwise. Forallpracdcal

purposes,therefore,thewaiverforeclosed appellatezeview aswellasa collateralattack.

Borden argues,however,thatTddespite thewaiver,the appealscouttcould havereviewed fot

plain errory''which w ould have preserved theissuesforreview on collateralattack.

      Thisisincorrect.W henadefendanthasknowinglyandintelligentlywaivedhisrkht
to appeal,asBorden did here,the Fourt
                                    .h Circuitwillnotreview theappeal,exceptin very

lim ited circum stanceswhich are notatissue in thiscase. Instead,the appealm ustbe

disnlissed.SeeUrzited Statesv.Blick,408F.3d 162,167-68 (4th Cir.2005)rfBecausewe
found thatthe appealwaiverwasvoluntarily and intelligently m ade,we dismissed the appeal

withoutaddressing themeritsofgthedefendant's)atgtzment.7').
      Even assurning thatcounseldid notdiscusswith Borden theproceduraldefaultrule,

hecannotestablish prejudicebecausecounseldiddiscusswith him theconsequencesof

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waiving l'
         lisappellateand collateralattackrights,asdid the courtathispleacolloquy.

Because itw asthewaiverthatlim ited llisrightto collaterally attack hissentence and notthe

proceduraldefaultl'ule,Borden cannotestablish thatbutforcounsel'serror,fftheresultof

theproceedingswould havebeen different.'' Strickland,466U .S.at694.

                                                IV .

      Forthe teasonsstated herein,the courtgmntsthe governm ent'sm oéon to disnniss.

BecauseBorden hasfo ed to m akea substantialshowing ofthedenialofaconstittztional

rightasrequiredby28U.S.C.j2253/),acertificateofappealabilityisdenied.
                                         5.'.
                                         .
      ENTER:This 3b dayofNovember,2016.

                                                       /W - 4rZ,
                                                               r.N /.W V-V-'
                                                       United StatesDisttictludge




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